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United States Bankruptcy Court for the:
District of Kansas

Case number (if known):

Official Form 201

Chapter you are filing under:
Chapter 7

/ “eae:
Chanter 12 LJ Check if this is an

CJ Chapter 13 amended filing

Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

=

. Debtor’s name WWMAJ Systems LLC

 

2. All other names debtor used

Young Systems LLC

 

in the last 8 years LRB Superstore

 

Include any assumed names,

 

trade names, and doing business
as names

 

3. Debtor’s federal Employer XX-XXXXXXX

 

Identification Number (EIN)

4. Debtor's address Principal place of business Mailing address, if different from principal place

of business

9250 Bond Street

Number

 

Street Number Street

 

 

 

Overland Park KS 66214

City

P.O. Box

 

State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

Johnson County

 

County

 

Number Street

 

 

City State ZIP Code

5. Debtor’s website (URL) Irbsstore.com

 

6. Type of debtor

[1 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

(1 Partnership (excluding LLP)

CJ Other. Specify:

 

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Debtor WWMAJ Systems LLC

Case number (if known)

 

Name

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first sub-

box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must

check the second sub-box.

9. Were prior bankruptcy cases
filed by or against the debtor

within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

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Case 2 3 voldntatpPetifidh for Non-Individeiale Ping for Bankrupteyd © 2 of 4

A. Check one:

(J Health Care Business (as defined in 11 U.S.C. § 101(27A))

CO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
J Railroad (as defined in 11 U.S.C. § 101(44))

(I) Stockbroker (as defined in 11 U.S.C. § 101(53A))

CO Commodity Broker (as defined in 11 U.S.C. § 101(6))

QI Clearing Bank (as defined in 11 U.S.C. § 781(3))

[WZ] None of the above

B. Check all that apply:
Oo Tax-exempt entity (as described in 26 U.S.C. § 501)

CJ investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Avww.naics.com/search/ .

455219

Check one:

(1 Chapter 7

C2 Chapter 9

1 Chapter 11. Check all that apply:

(1) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal income
tax retum or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

LZ] The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.
§ 1116(1)(B).

OA plan is being filed with this petition.

O Acceptances of the plan were solicited prepetition from one or more classes of creditors,
in accordance with 11 U.S.C. § 1126(b).

(J The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

(CO The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

12b-2.
(1 Chapter 12
No
Cc Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
[No
CyYes. Debtor Relationship
District When

 

MM / DD /YYYY
Case number, if known

 

page 2
Debtor WWMAJ Systems LLC

Case number (if known)

 

Name

11. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

Check ail that apply:

Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

La bankruptcy case concerning debior’s affiliate, general partner, or partnership is pending in this district.

ZINo

(2 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

LJ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

LJ) It needs to be physically secured or protected from the weather.

LJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

CL) Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?

L] No

LJ Yes. insurance agency

 

Contact name

 

Phone

 

a Statistical and administrative information

Check one:

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

Funds will be available for distribution to unsecured creditors.
LJ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

1-49 LJ 1,000-5,000 LJ 25,001-50,000

LJ 50-99 LJ 5,001-10,000 LJ 50,001-100,000

LJ 100-199 L) 10,001-25,000 LJ More than 100,000

LJ 200-999

LJ $0-$50,000 L) $1,000,001-$10 million LJ $500,000,001-31 billion

LJ $50,001-$100,000 LL) $10,000,001-$50 million LJ $1,000,000,001-$10 billion
$100,001-$500,000 LJ $50,000,001-$100 million LJ $10,000,000,001-$50 billion
LJ $500,001-$1 million LJ $100,000,001-$500 million LJ More than $50 billion

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WWMAJ Systems LLC
Debtor

 

Name

16. Estimated liabilities

LJ $0-$50,000

LJ $50,001-$100,000
LJ $100,001-$500,000
LL} $500,001-$1 million

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

18. Signature of attorney

Official Form 201

Case number (if known)

 $1,000,001-$10 million

LJ $10,000,001-$50 million
LJ $50,000,001-$100 million
L} $100,000,001-$500 million

CL} $500,000,001-$1 billion

LJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
L) More than $50 billion

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

Executed on 05/ 1 6/ 2023

MM /DD/YYYY
x

| declare under penalty of perjury that the foregoing is true and correct.

Will Young

 

Signature of authorized representative of debtor

Title CEO/President

 

Xx but Guan

 

Signature of attorney for debtor

Robert Baran

Printed name

pate 05/16/2023

MM /DD /YYYY

 

Printed name

Conroy Baran

 

Firm name

1316 Saint Louis Avenue 2nd FL

 

Number Street

 

 

 

 

Kansas City MO 64101
City State ZIP Code
8166165009 rbaran@conroybaran.com
Contact phone Email address

19681 KS
Bar number State

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